                      Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 1 of 46
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District of&ROXPELD
              In the Matter of the Search of
        (Briefly describe the property to be searched                        )
         or identify the person by name and address)                         )
    INFORMATION ASSOCIATED WITH TWO ACCOUNTS                                 )              Case No. 22-SC-2023
    STORED AT PREMISES CONTROLLED BY                                         )
    BITCOINTALK.ORG PURSUANT TO 18 U.S.C. § 2703 FOR
                                                                             )
                                                                             )
    INVESTIGATION OF VIOLATION OF 18 U.S.C. § 1956
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
      6HH$WWDFKPHQW$
                                           District of Columbia
/RFDWHGLQWKHMXULVGLFWLRQRIWKHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB, there is now concealed (identify the
SHUVRQRUGHVFULEHWKHSURSHUW\WREHVHL]HG 

      6HH$WWDFKPHQW%

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
          18 U.S.C. § 1956 (money laundering); 18 U.S.C. § 1960 (unlicensed money transmission); D.C. Code §
          26-1023(c) (money transmission without a license).
          The application is based on these facts:
             See Affidavit in Support of Application for Search Warrant.

           u Continued on the attached sheet.
           u Delayed notice of       days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                               Leo Rovensky, Special Agent
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
WHOHSKRQH                                            (specify reliable electronic means).


Date:             8/9/2022
                                                                                                        Judge’s signature

City and state:            :DVKLQJWRQ'&                                                     Robin M. Meriweather
                                                                                                8QLWHG6WDWHV0DJLVWUDWH-XGJH
                           Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 2 of 46

AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV                u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                                    'LVWULFWRI&ROXPELD
                  In the Matter of the Search of                             )
          (Briefly describe the property to be searched                      )
           or identify the person by name and address)
   INFORMATION ASSOCIATED WITH TWO ACCOUNTS                                  )      Case No. 22-SC-2023
   STORED AT PREMISES CONTROLLED BY                                          )
   BITCOINTALK.ORG PURSUANT TO 18 U.S.C. § 2703 FOR                          )
   INVESTIGATION OF VIOLATION OF 18 U.S.C. § 1956                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
            An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
                                                                                      District of Columbia
of the following person or property located in theMXULVGLFWLRQRIWKHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
(identify the person or describe the property to be searched and give its location):

See Attachment A (incorporated by reference).




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

 6HH$WWDFKPHQW% LQFRUSRUDWHGE\UHIHUHQFH 



        YOU ARE COMMANDED to execute this warrant on or before                   August 23, 2022       (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                       Robin M. Meriweather                  .
                                                                                                   (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:                          8/9/2022
                                                                                                           Judge’s signature

City and state:                      Washington, D.C.                                          Robin M. Meriweather
                                                                                               8QLWHG6WDWHV0DJLVWUDWH-XGJH
                           Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 3 of 46
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
22-SC-2023
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 4 of 46




                                     ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to information associated with the BitcoinTalk.org accounts

identified by the user accounts:

               User ID: 44692 Akemashite Omedetou (TARGET ACCOUNT 1) and

               User ID: 37067 Killdozer (TARGET ACCOUNT 2)

which are stored at premises owned, maintained, controlled, or operated by BitcoinTalk.org, a

company that accepts service of legal process through the law firm Godfrey & Kahn, S.C., based

in Madison, Wisconsin.




                                               1
             Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 5 of 46




                                        ATTACHMENT B

                          Particular Things to Be Seized and Procedures
                              to Facilitate Execution of the Warrant

   I.         Information to be disclosed by BitcoinTalk.org (the “Provider”) to facilitate
              execution of the warrant
        To the extent that the information described in Attachment A (the “Target Accounts”) is

within the possession, custody, or control of the Provider, regardless of whether such information

is located within or outside the United States, and including any messages, posts, emails, records,

files, logs, or information that has been deleted but is still available to the Provider, or has been

preserved pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required to disclose

the following information (from August 1, 2011, to present) to the government for the Target

Accounts listed in Attachment A:


        a.       For the time period from August 1, 2011, to the present: The contents of all

communications and related transactional records for all PROVIDER services used by an

Account subscriber/user, including but not limited to incoming, outgoing, and draft posts,

messages, and other electronic communications; attachments to communications (including

native files); source and destination addresses and header or routing information for each

communication (including originating IP addresses); the date, size, and length of each

communication; the date on which the account was created, the length of service, the status of

the account (including whether the account is inactive or closed), the services utilized, the email

address(es) used to register the account; and any user or device identifiers linked to each

communication (including phone numbers or cookies);

        b.       For the time period from August 1, 2011, to the present: The contents of all other

data and related transactional records for all PROVIDER services used by an Account user,



                                                  1
            Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 6 of 46




including any information ever generated, modified, or stored by the user(s) or PROVIDER

through the Account (such as contacts, calendar data, images, videos, notes, documents,

bookmarks, profiles, and any other saved information);

       c.       For the time period from August 1, 2011, to the present: All PROVIDER records

concerning the online search and browsing history associated with the Account or its users (such

as information collected through tracking cookies);

       d.       For the time period from August 1, 2011, to the present: All records and other

information concerning any document or other file created, stored, revised, or accessed in

connection with the Account or by an Account user, including the contents and revision history

of each document or other computer file, and all records and other information about each

connection made to or from such document or other computer file, including the date, time,

length, and method of connection; server log records; data transfer volume; and source and

destination IP addresses and port numbers;

       e.       All records regarding identification of the Account, including names, addresses,

telephone numbers, alternative email addresses provided during registration, means and source

of payment (including any credit card or bank account number), records of session times and

durations (including IP addresses, cookies, device information, and other identifiers linked to

those sessions), records of account registration (including the IP address, cookies, device

information, and other identifiers linked to account registration), length of service and types of

services utilized, account status, methods of connecting, and server log files, and including any

such information that was previously associated with the account at any time and a record of any

changes made to the account;

                                                 2
            Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 7 of 46




       f.       All device or user identifiers which have ever been linked to the Account,

including but not limited to all cookies and similar technologies, Android ID, Advertising ID,

unique application number, hardware model, operating system version, device serial number,

Global Unique Identifier (“GUID”), mobile network information, telephone number, Media

Access Control (“MAC”) address, and International Mobile Equipment Identity (“IMEI”), as

well as all apps that have been downloaded to the device, location history, any backup or cloud

copies of data stored on the device, and basic subscriber information for all Provider accounts

ever tied to the device;

       g.       For the time period from August 1, 2011, to the present: All records of

communications between PROVIDER and any person regarding the Account, including contacts

with support services and records of actions taken;

       h.       Basic subscriber records and login history (including, as described in 18 U.S.C.

§ 2703(c)(2), names, addresses, records of session times and durations, length of service and

types of service utilized, instrument number or other subscriber number or identity, and payment

information) concerning any PROVIDER account (including both current and historical

accounts) ever linked to the Account by a common e-mail address (such as a common recovery

e-mail address), or a common telephone number, means of payment(e.g., credit card number),

registration or login IP addresses (during a period of one week), registration or login cookies or

similar technology, or any other unique device or user identifier, including GUID and

Advertising ID;

       i.       Any communications between the operator of the Account and the PROVIDER,

including customer support; and

                                                 3
            Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 8 of 46




       j.       Information about any complaints, alerts, or indications of malware, fraud,

suspicious activity, or violations of terms of service connected to the Account or associated

user(s), including any memoranda, correspondence, investigation files, or records of meetings or

discussions about the Account or associated user(s) (but not including any confidential

communications with legal counsel).

//

//

//

       Within 14 days of the issuance of this warrant, PROVIDER shall deliver the information

set forth above via United States mail, courier, or email to the following:

       Leo Rovensky
       Special Agent
       Internal Revenue Service
       Leo.Rovensky@ci.irs.gov
       973-885-4062




                                                 4
          Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 9 of 46




   II.      Information to be Seized by Law Enforcement

         All information described above in Section I that constitutes evidence, fruits, contraband,

and instrumentalities of violations of 18 U.S.C. §§ 1956 (Money Laundering) and 1960

(Unlicensed Money Service Business) and D.C. Code § 26-1023(c) (money transmission without

a license), and including information pertaining to the following matters:


            a. Information that constitutes evidence of the identification or location of the

                user(s) of the TARGET ACCOUNTS;

            b. Information that constitutes evidence concerning persons who either (i)

                collaborated, conspired, or assisted (knowingly or unknowingly) the commission

                of the criminal activity under investigation and underlying specified unlawful

                activities; or (ii) communicated with the TARGET ACCOUNTS about matters

                relating to the criminal activity under investigation and underlying specified

                unlawful activities, including records that help reveal their whereabouts;

            c. Information that constitutes evidence concerning how and when the TARGET

                ACCOUNTS were accessed or used, to determine the geographic and

                chronological context of account access, use, and events relating to the criminal

                activity under investigation and to the TARGET ACCOUNTS user(s);

            d. Information concerning the development and operation of Bitcoin Fog, or any

                associated site or service;

            e. Information concerning how the person(s) developing and operating Bitcoin Fog,

                or any associated site or service aided and abetted and/or conspired with users of


                                                  5
Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 10 of 46




     those services in furtherance of criminal offenses, as described in the affidavit

     submitted in support of this Warrant;

  f. Records and information relating to individuals associated with the TARGET

     ACCOUNTS, including the identity or location of owners, administrators,

     moderators, and operators, aiders and abettors, coconspirators, and accessories

     after the fact, and the identity of the users of the TARGET ACCOUNTS or any

     similar/related website, as well as communications by or among those individuals;

  g. Information regarding the individual(s) using the TARGET ACCOUNTS;

  h. Records and information relating to the users of the TARGET ACCOUNTS or

     any similar/related accounts, including customer lists, contacts, and identifying

     information, as well as communications by or among those individuals;

  i. Evidence related to banking or financial information, including but not limited to:

           i.     Evidence related to any virtual currency data or transaction, including

                  the details and context of any such transaction;

           ii.    Evidence related to the transportation or transmission of funds,

                  including virtual currencies (such as bitcoin), that have been derived

                  from the investigated crimes, including those that are intended to be

                  used to promote, conceal, or support further criminal activity;

           iii. Financial account information, cryptocurrency records, bank records,

                 bank statements, credit card bills, bank account numbers, money drafts,

                 letters of credit, money orders, cashier's checks, or bank checks;

           iv. means or source of payment for service (including any credit card, bank

                                         6
Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 11 of 46




               account number, or bitcoin wallet addresses);

           v. any other financial records or items evidencing the obtaining, secreting,

               transfer, concealment, storage and/or expenditure of money;

  j. Evidence related to conducting, controlling, managing, supervising, directing,

     and/or owning all or part of an unlicensed money transmitting business;

  k. Evidence related to money transmitting licenses and business registration;

  l. The identity of the persons who communicated with the TARGET ACCOUNTS

     about matters relating to conducting, controlling, managing, supervising,

     directing, and/or owning all or part of an unlicensed money transmitting business,

     including records that help reveal their whereabouts;

  m. Evidence indicating the state of mind of the TARGET ACCOUNTS user(s), e.g.,

     intent, absence of mistake, or evidence indicating preparation or planning, related

     to the criminal activity under investigation.




                                       7
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 12 of 46




   III. Government procedures for warrant execution

       The United States government will conduct a search of the information produced by the

Provider and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

       Law enforcement personnel will then seal any information from the Provider that does not

fall within the scope of Section II and will not further review the information absent an order of

the Court. Such sealed information may include retaining a digital copy of all information received

pursuant to the warrant to be used for authentication at trial, as needed.




                                                  8
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 13 of 46




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 TWO ACCOUNTS STORED AT
                                                     SC No. 22-SC-2023
 PREMISES CONTROLLED BY
 BITCOINTALK.ORG PURSUANT TO 18
 U.S.C. § 2703 FOR INVESTIGATION OF
 VIOLATION OF 18 U.S.C. § 1956

Reference:  USAO Ref. # 2015R02056; Subject Account: BitcoinTalk Accounts Akemashite
Omedetou (User ID: 44692) and Killdozer (User ID: 37067)

                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Leo Rovensky, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a warrant to search information

associated with BitcoinTalk.org accounts: Akemashite Omedetou, User ID: 44692 (“TARGET

ACCOUNT 1”) and Killdozer, User ID: 37067 (“TARGET ACCOUNT 2”), which are stored at

premises controlled by BitcoinTalk.org (“PROVIDER”), a company based in the United States

and which responds to U.S. legal process through their legal counsel based in Madison, Wisconsin.

The information to be searched is described in the following paragraphs and in Attachment A.

       2.      This affidavit is made in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require PROVIDER to disclose to the

government copies of the information (including the content of communications) further described

in Section I of Attachment B. Upon receipt of the information described in Section I of Attachment

B, government-authorized persons will review that information to locate the items described in

Section II of Attachment B, using the procedures described in Section III of Attachment B.



                                                 1
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 14 of 46




       3.      I am a Special Agent with the Internal Revenue Service, Criminal Investigation

(IRS-CI). I have been a Special Agent with IRS-CI since 2008. My responsibilities include the

investigation of criminal violations of the Internal Revenue Code (Title 26, United States Code),

the Money Laundering Control Act (Title 18, United States Code, Sections 1956 and 1957), the

Bank Secrecy Act (including relevant parts of Title 31, United States Code), and related offenses.

I have experience investigating crimes involving virtual currency and am currently assigned to the

Cyber Crimes Unit within IRS-CI. I am experienced in analyzing and tracing virtual currency

transactions. I have also received training in cyber operations and in criminal schemes perpetrated

via the Internet. During my work with the IRS-CI, I have been the affiant on, executed, and/or

participated in the execution of search warrants, and have seized evidence associated with

violations of federal and state laws.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant and does

not set forth all of my knowledge about this matter.

       5.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S.C. §§ 1956 (money laundering) and 1960

(unlicensed money transmission) and D.C. Code § 26-1023(c) (money transmission without a

license) have been committed by the user(s) of the TARGET ACCOUNTS. There is also probable

cause to search the information described in Attachment A for evidence of these crimes further

described in Attachment B.



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          Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 15 of 46




                                          JURISDICTION

         6.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. Specifically, the Court is “a district court

of the United States . . . that has jurisdiction over the offense being investigated.” 18 U.S.C.

§ 2711(3)(A)(i). As discussed more fully below, acts or omissions in furtherance of the offenses

under investigation occurred within Washington, DC. See 18 U.S.C. § 3237. Additionally, the

criminal offenses under investigation began or were committed upon the high seas, or elsewhere

out of the jurisdiction of any particular State or district. See 18 U.S.C. § 3238. Further, the statute

setting forth one of the federal offenses under investigation, namely 18 U.S.C. § 1956, applies

extraterritorially.

                      BACKGROUND RELATED TO VIRTUAL CURRENCY

    I.        Bitcoin

         7.      Bitcoin (“BTC”) is a decentralized virtual currency, which is circulated over the

Internet and which is not backed by a government. BTC is supported by a peer-to-peer network.

All transactions are recorded on BTC’s public ledger, called the blockchain. Although transactions

are visible on the public ledger, each transaction is only listed by a complex series of letters and

numbers that does not identify the individuals involved in the transaction. This feature makes

virtual currency transactions pseudo-anonymous; however, it is sometimes possible to determine

the identity of an individual involved in a virtual currency transaction by analyzing the blockchain

and obtaining related records. For this reason, many criminal actors who use virtual currency to

facilitate illicit transactions online (e.g., to buy and sell illegal drugs or other unlawful items or

services) look for ways to make their transactions even more anonymous.

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        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 16 of 46




       8.      BTC is sent to and from virtual currency “addresses,” roughly equivalent to

anonymous account numbers. One person may easily create and control many BTC addresses.

Like sending and receiving an email via an email address, a user can send and receive BTC via a

BTC address. People commonly have many different BTC addresses, and an individual could

theoretically use a unique address for every transaction in which they engage. A user can also

send BTC from multiple addresses in one transaction; however, to spend virtual currency held

within a BTC address, the user must have a private key, which is generated when the address is

created and is shared only with the address key’s initiator. Similar to a password, a private key

ensures secured access to the virtual currency. Consequently, only the holder of a private key for

a virtual currency address can spend from the address. Although the owners of virtual currency

addresses generally are not known unless the information is made public by the owner (e.g., by

posting the address in an online forum or providing the address to another user for a transaction),

analyzing the blockchain can sometimes lead to identifying both the owner of an address and other

accounts that the person or entity owns and controls.

       9.      Virtual currency is often transacted using a virtual currency exchange (“VCE”),

which typically acts as a trading platform and storage platform. Most VCEs facilitate trading

between the U.S. dollar, other fiat currencies, BTC, and other virtual currencies. Many VCEs also




                                                4
           Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 17 of 46




store their customers’ virtual currency in virtual currency “wallets.” 1 These wallets can hold

multiple BTC addresses associated with a user on a VCE’s network.

          10.      Because these VCEs act as money services businesses, they are legally required,

under the Bank Secrecy Act, codified at 31 U.S.C. § 5311 et seq., to conduct due diligence of their

customers (i.e., Know Your Customer (“KYC”) checks). They are also required to have anti-

money laundering (“AML”) programs in place. In other words, a U.S.-based VCE is required to

collect identifying information of their customers and verify their clients’ identities.

          11.      Since the BTC blockchain serves as a searchable public ledger of every BTC

transaction, investigators may trace transactions to VCEs. Because those VCEs collect identifying

information about their customers, subpoenas or other appropriate legal process submitted to these

VCEs can, in some instances, reveal the true identity of the individual responsible for the

transaction.

    II.         Blockchain Analysis

          12.      As previously stated, while the identity of a BTC address owner is generally

anonymous, law enforcement can often identify the owner of a particular BTC address by

analyzing the BTC blockchain. The analysis can also reveal additional addresses controlled by the

same individual or entity. “For example, when an organization creates multiple Bitcoin addresses,


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  BTC wallets hosted by third parties (e.g., VCEs) are sometimes called “hosted wallets,” because
the third party holds a customer’s funds on the third party’s platform until a customer requests that
the third party release the funds for a transaction. This is similar to the relationship a customer has
with a bank: the bank holds the customer’s funds until the customer requests a transfer. I n contrast,
virtual currency wallets that allow a user to exercise total, independent control over their funds
(i.e., do not require a third party’s involvement to facilitate a transaction) are called “unhosted” or
“self-hosted” wallets.

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            Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 18 of 46




it will often combine its [BTC] addresses into a separate, central [BTC] address (i.e., a “cluster”).

It is possible to identify a ‘cluster’ of [BTC] addresses held by one organization by analyzing the

[BTC] blockchain’s transaction history. Open source tools and private software products can be

used to analyze a transaction.” United States v. Gratkowski, 964 F.3d 307, 309 (5th Cir. 2020).

           13.     Law enforcement uses commercial services offered by several different

blockchain-analysis companies to investigate virtual currency transactions. These companies

analyze the BTC blockchain (as well as the blockchains for other virtual currencies) and attempt

to identify the individuals or groups involved in transactions. Through numerous unrelated

investigations, law enforcement has found the information provided by these companies to be

reliable.

    III.         The Tor Network

           14.     The Tor network is designed specifically to facilitate anonymous communication

over the Internet. In order to access the Tor network, a user must install Tor software either by

downloading an add-on to the user’s web browser or by downloading the free “Tor browser

bundle” available at www.torproject.org.          Use of the Tor software bounces a user’s

communications around a distributed network of relay computers run by volunteers all around the

world, thereby masking the user’s actual Internet Protocol (“IP”) address, which could otherwise

be used to identify a user.

           15.     Because of the way Tor routes communications through other computers,

traditional IP identification techniques are not viable. Meaning, when a user on the Tor network

accesses a website, for example, the IP address of a Tor “exit node,” rather than the user’s actual

IP address, shows up in the website’s IP log. An exit node is the last computer through which a

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          Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 19 of 46




user’s communications were routed. There is no practical way to trace the user’s actual IP address

back through that Tor exit node IP address.

         16.      Within the Tor network itself, entire websites can be set up as “hidden services.”

“Hidden services” operate in the same way as regular public websites with one critical exception:

the IP address for the web server is hidden and instead is replaced with a Tor-based web address,

which is a series of algorithm-generated characters, such as “asdlk8fs9dflku7f” followed by the

suffix “.onion.” A user can only reach these “hidden services” if the user is employing the Tor

client and operating in the Tor network. And, unlike an open, public Internet website, it is not

possible to determine the IP address of a computer hosting a Tor “hidden service” by using publicly

available lookup tools. As a result, neither law enforcement nor Tor users can determine the

location of the computer that hosts such a website through those public lookups.

   IV.         Darknet Markets

         17.      “Darknet markets” are commercial websites that are typically hosted as Tor hidden

services. Darknet markets primarily function as black markets where one can sell or broker

transactions involving illegal drugs, cybercriminal tools (e.g., malware), weapons, counterfeit

currency, stolen personally identifiable information, forged documents and identification

credentials, and other illicit goods and services. BTC is the most common method of payment for

products and services procured on darknet markets.

         18.      Two publicly available examples of now defunct darknet markets that operated as

Tor hidden services are Silk Road Market (“Silk Road”) and AlphaBay Market (“AlphaBay”).

Silk Road was the first modern darknet market. It was best known as a platform for buying and



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        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 20 of 46




selling illegal drugs. It was in operation from approximately 2011 until 2013, when it was shut

down following a long-term U. S. law enforcement investigation.

       19.    AlphaBay was active from approximately 2014 until 2017, when it was shut down

following an investigation conducted by U.S. authorities. While active, AlphaBay had more than

400,000 users. Like Silk Road, AlphaBay was a popular forum for buying and selling illegal drugs.

Below is a screenshot of what AlphaBay looked like while operational:




                                     PROBABLE CAUSE

       20.    The Internal Revenue Service, Criminal Investigation (IRS-CI) and the Federal

Bureau of Investigation (FBI) have been investigating an illicit Bitcoin money transmitting and

money laundering service called BITCOIN FOG.                As described further below, the

investigation identified Roman STERLINGOV as the operator of BITCOIN FOG.                   On

April 26, 2021, STERLINGOV was charged by complaint in the District of Columbia with

money laundering, in violation of 18 U.S.C. § 1956(a)(3); unlicensed money transmission, in

violation of 18 U.S.C.§ 1960; and money transmission without a license, in violation of
                                               8
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 21 of 46




D.C. Code § 26-1023(c). STERLINGOV was arrested shortly after midnight on April 27,

2021, after he traveled from Moscow to the Los Angeles International Airport. On June 14,

2021, a grand jury in the District of Columbia returned and indictment charging STERLINGOV

with the same counts as the complaint. On July 18, 2022, a grand jury in the District of Columbia

returned a superseding indictment, adding a count of money laundering conspiracy in violation

of 18 U.S.C. § 1956(h).

BITCOIN FOG Background


       21.    BITCOIN FOG was an Internet-based service accessible from the District of

Columbia and U.S. states. As of April 26, 2021, BITCOIN FOG could be accessed through the

Tor hidden service located at http://foggeddriztrcar2.onion.2   BITCOIN FOG functioned as a

Bitcoin “tumbler” or “mixer” service.3 It allowed users to send bitcoins to designated recipients

in a manner designed to conceal and obfuscate the source of the bitcoins.          It worked by

disassociating incoming bitcoin from particular Bitcoin addresses or transactions and then

comingling that bitcoin with other incoming bitcoin prior to conducting any further transactions.

This process allowed BITCOIN FOG customers engaged in unlawful activities to launder their

proceeds by concealing the nature, source, and location of their “dirty” bitcoin. BITCOIN FOG

publicly advertised this service as a way to help users obfuscate the source of their bitcoin.

BITCOIN FOG charged customers a fee for this service.

       22.    BITCOIN FOG was launched on or about October 27, 2011, and was operational

as of April 26, 2021. The site went down shortly after STERLINGOV’s arrest. The website was

one of the original Bitcoin tumbling sites on the darknet. As described below, more than 1.2

million BTC (valued at approximately $335,809,383 at the time of the transactions) were sent
                                            9
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 22 of 46




through the site from in or about October 2011 through April 26, 2021. The largest senders of

BTC through BITCOIN FOG were darknet markets, such as Agora, Silk Road 2.0, Silk Road,

Evolution, and AlphaBay, that primarily trafficked in illegal narcotics and other illegal goods.

       23.    BITCOIN FOG was publicly advertised on Internet forums and well-known web

pages promoting darknet markets as a tool for anonymizing bitcoin transactions.               The

administrator of BITCOIN FOG publicly promoted the service through a clearnet site

(www.bitcoinfog.com and www.bitcoinfog.info) and a Twitter page. These outlets allowed users

to easily locate and access the hidden services site through simple clearnet Internet searches.

BITCOIN FOG Operated as an Illegal Money Transmitting and Money Laundering Service
on the Darknet

       24.    Using blockchain analysis, law enforcement confirmed that over 1.2 million BTC

(valued at approximately $335,809,383 at the time of the transactions) have been sent through

BITCOIN FOG since the site was launched in 2011. This figure includes BTC from various

sources: all direct and indirect transactions from sources such as darknet markets; funds stolen

from other bitcoin addresses through hacks; direct deposits and withdrawals from bitcoin wallets;

sends and receives from wallets not apparently affiliated with a known hosted service; and other

unknown sources.     IRS-CI personnel reviewed all inputs and outputs from BITCOIN FOG to

identify bitcoins sent directly to BITCOIN FOG from known darknet markets and bitcoins sent

from BITCOIN FOG to known darknet markets. IRS-CI’s analysis determined BITCOIN FOG

received approximately 486,861.69 BTC (approximately $54,897,316.44 at the time of the

transactions) directly from darknet markets.     BITCOIN FOG sent approximately 164,931.13

BTC (approximately $23,690,956.28 at the time of the transactions) directly to darknet markets.

                                                10
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 23 of 46




In sum, BITCOIN FOG sent or received more than $78 million in transactions involving known

darknet markets, counting only direct transactions.

        25.     Among these, IRS-CI cyber analysts identified direct deposits into BITCOIN FOG

from at least 35 darknet markets. Below are the top five markets by U.S. dollar value of deposits:

                                            Total Received       Total Received
               Source Market                (BTC)                (USD)
               Agora Market                           41,966.87     $14,398,754.73
               Silk Road 2.0 Market                   22,863.74     $12,518,636.97
               Silk Road Marketplace                 377,102.74      $9,556,159.49
               Evolution Market                       11,100.79      $3,199,542.15
               AlphaBay Market                          5,442.86     $2,907,508.67


        26.     IRS-CI cyber analysts identified funds sent directly from BITCOIN FOG to at least

51 different darknet markets. Below are the top five markets by dollar value of sends:

                Destination Market               Total Sent (BTC) Total Sent (USD)
                Agora Market                             26,398.12   $8,680,430.34
                Silk Road 2.0 Market                     11,274.21   $5,871,831.33
                Silk Road Marketplace                   106,522.77   $2,289,509.42
                Evolution Market                          6,473.24   $1,860,053.75
                AlphaBay Market                           3,375.90   $1,557,931.95

        27.     Based on my training and experience, including experience in other darknet

investigations, darknet markets exist primarily to traffic in illegal narcotics and other illegal goods

and services – a fact well-known among darknet market user and administrators, and intended by

the administrators. In particular, darknet markets sell stolen personally identifiable information,

financial information including credit card numbers, and computer hacking tools and exploits.

That the darknet markets listed above primarily traffic in illegal narcotics and the other illegal

                                                  11
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 24 of 46




goods and services noted would be apparent to anyone using the markets because the categories

listed on each market, and the majority of specific listings, openly discuss illegal goods and

services. I am familiar with each of the darknet markets listed in the tables above and am aware

that illegal narcotics and other illegal goods and services constituted the majority of items for sale

on each market. Accordingly, there is probable cause to believe that the bitcoin transactions sent

to and from BITCOIN FOG involved the proceeds of “specified unlawful activity,” as defined in

18 U.S.C. § 1956(c)(7), such as narcotics distribution (21 U.S.C. § 841); identity theft and the

sale of stolen personally identifiable information (PII) (18 U.S.C. § 1028A); and computer fraud

and abuse, including the sale of computer hacking tools and exploits (18 U.S.C. § 1030).

Undercover Transactions on BITCOIN FOG

September 2019 Undercover Transaction

       28.     On or about September 11, 2019, an IRS-CI Special Agent (UC) physically

located in the District of Columbia and operating in an online undercover capacity accessed

BITCOIN FOG at foggeddriztrcar2.onion through the Tor browser. The UC created an account

through the registration page by creating a username and password and entering a security text

phrase pictured below the registration text boxes. The registration page of BITCOIN FOG stated:

“As an anonymous service, we do not collect any additional information about you besides a user

name and password.”

       29.     When creating the account, the UC was never asked for any identifying

information such as an email account, date of birth, social security number, or passport number,

or for any other proof of identification.

       30.     On or about September 11, 2019, while physically located in the District of
                                           12
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 25 of 46




Columbia, the UC sent approximately 0.02488936 BTC ($249.99) from an IRS-CI controlled

covert wallet (“UC Sending Wallet”) into a wallet address provided by BITCOIN FOG.

       31.     On or about September 12, 2019, while physically located in the District of

Columbia, the UC accessed foggeddriztrcar2.onion. The UC’s undercover BITCOIN FOG

account showed a balance of approximately 0.02425700. The difference of approximately

0.00063236 BTC between the amount the UC deposited and the balance shown is approximately

2.5% of the total deposit. This is the service fee charged by BITCOIN FOG. On or about

September 12, 2019, while physically located in the District of Columbia, the UC sent 0.02 BTC

from BITCOIN FOG to an IRS-CI controlled covert wallet (“UC Receiving Wallet”).

       32.     Through blockchain analysis, investigators traced bitcoin from the BITCOIN

FOG deposit address to known BITCOIN FOG bitcoin clusters identified through blockchain

analysis. IRS-CI investigators also traced bitcoin sent to the UC Receiving Wallet and confirmed

that the bitcoin was sourced from BITCOIN FOG clusters.

       33.     Investigators were unable to directly trace any direct link between the “UC

Sending Wallet” and the “UC Receiving Wallet,” confirming that BITCOIN FOG successfully

tumbled the transaction by breaking the link in the blockchain between the source and ultimate

destination of the funds.

November 2019 Undercover Transaction

       34.     On or about November 18, 2019, while physically located in the District of

Columbia, an IRS-CI Special Agent (UC) operating in an online undercover capacity sent

approximately 0.01173987 BTC to BITCOIN FOG from an IRS-CI controlled undercover


                                               13
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 26 of 46




account on the Apollon darknet market. Apollon was a darknet market known to sell illegal

narcotics, stolen PII, and other illegal items. On November 19, 2019, while physically located in

the District of Columbia, the SA accessed BITCOIN FOG at foggeddriztrcar2.onion. The UC’s

undercover account on BITCOIN FOG showed that the account had been credited by the amount

of the send transaction, less an approximately 2.32% fee.

       35.     On or about November 19, 2019, while physically located in the District of

Columbia and after confirming the deposit of funds from Apollon Market had been credited to

the UC’s BITCOIN FOG account, the UC sent the message below to the BITCOIN FOG

administrator using the messaging function on the BITCOIN FOG site, stating the funds were the

proceeds of illegal narcotics sales:




       36.     On or about November 21, 2019, while physically located in the District of

Columbia, the UC again accessed BITCOIN FOG operating in an online undercover capacity.

There was no response to the above message posted by the SA on or about November 19, 2019.

                                               14
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 27 of 46




The UC then directed BITCOIN FOG to send 0.01146764 BTC from the undercover account on

BITCOIN FOG to an IRS-CI controlled undercover wallet. BITCOIN FOG did so.

        37.     The UC clearly stated that the BTC was from the sale of ecstasy/molly, an illegal

narcotic. At no point did the administrator of BITCOIN FOG prevent the deposit of funds from

Apollon or prevent the withdrawal of funds after the funds were represented to be the proceeds

of illegal drug sales.

        38.     Through blockchain analysis, investigators traced bitcoin from the IRS-CI

controlled account on Apollon Market, to the BITCOIN FOG deposit address, to known

BITCOIN FOG bitcoin clusters identified through blockchain analysis. IRS-CI investigators also

traced bitcoin sent to the IRS-CI controlled undercover wallet and confirmed that the bitcoin was

sourced from a BITCOIN FOG address.

March-April 2021 Undercover Transaction

        39.     On or about March 10, 2021, while physically located in the District of Columbia,

an IRS-CI Special Agent (UC) operating in an online undercover capacity accessed BITCOIN

FOG. The UC sent three separate deposits to BITCOIN FOG in the amounts of 0.0043444 BTC,

0.00836095 BTC, and 0.0089869 BTC.

        40.     On or about April 19, 2021, while physically located in the District of Columbia,

the UC contacted the administrator of BITCOIN FOG and advised that the deposited funds were

the proceeds of a COVID fraud scheme, stating: “I am in need of partner. I have many targets in

US for my attack. I develop program to lock government corona checks until persons pay me

bitcoin ransom. These are first three deposits to the fog.”

        41.     The UC clearly stated that the BTC was from a COVID fraud. At no point did the
                                                 15
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 28 of 46




administrator of BITCOIN FOG prevent the use of BITCOIN FOG to launder funds that were

represented to be illicit proceeds.

BITCOIN FOG Is Not Registered with FinCEN or Licensed in the District of Columbia

       42.     Records from the Financial Crimes Enforcement Network (“FinCEN”), a division

of the U.S. Department of Treasury, revealed that neither ROMAN STERLINGOV nor BITCOIN

FOG was registered as a money services business under federal law, despite conducting

transactions with U.S.-based customers. Similarly, records from the District of Columbia

Department of Insurance and Banking (DISB) revealed that neither ROMAN STERLINGOV nor

BITCOIN FOG was licensed as a money transmitter under District of Columbia law, despite

conducting transactions with persons based in the District of Columbia.

Attribution of BITCOIN FOG to ROMAN STERLINGOV

       43.     Analysis of bitcoin transactions, financial records, Internet service provider

records, e-mail records, and additional investigative information identified ROMAN

STERLINGOV as the principal operator of BITCOIN FOG.

“Akemashite Omedotou” and the Shormint@hotmail.com Account

       44.     Early in the investigation, identifiers connected BITCOIN FOG to the pseudonym

Akemashite Omedotou and the email account shormint@hotmail.com. As discussed further

below, BITCOIN FOG’s launch was announced in a posting on the BitcoinTalk.org forum on or

about October 27, 2011, by a user called Akemashite Omedetou. Records from BitcoinTalk.org

for the account associated with Akemashite Omedetou revealed that the account was created on

or about October 25, 2011, using email address shormint@hotmail.com. The account registration

                                               16
          Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 29 of 46




information      included   the     website    title    “Bitcoin   Fog”       and    website   URL

http://www.bitcoinfog.com.

Connecting the BITCOIN FOG Domain to STERLINGOV

       45.      Additional investigation, as described below, connects STERLINGOV to the

original BITCOIN FOG clearnet domain.

       46.      According to publicly available WhoIs information, www.bitcoinfog.com was

registered through the web hosting service Highhosting.net on October 25, 2011. The WhoIs

records showed that the domain was registered to “Akemashite Omedetou” using email address

shormint@hotmail.com. Records from Highhosting.net revealed that Akemashite Omedetou

used a Liberty Reserve account (Liberty Reserve Account 1) to pay for the domain. Liberty

Reserve      records   showed     that   Liberty   Reserve    Account     1    was    registered    to

shormint@hotmail.com.

       47.      Investigators reviewed the account activity associated with Liberty Reserve

Account 1 and determined that STERLINGOV had funded the account using a series of layered

transactions through multiple payment platforms, performed in close temporal proximity and

apparently designed to make it difficult to trace the payment to his true identity. Specifically:

             a. On September 29, 2011, according to records from the virtual currency exchange

Mt. Gox, Roman STERLINGOV opened an account in his true name at Mt. Gox (Mt. Gox

Account 1), using the email address plasma@plasmadivision.com.

             b. On October 3, 2011, STERLINGOV funded Mt. Gox Account 1 with 100 euros.




                                                   17
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 30 of 46




             c. On October 19, 2011, Mt. Gox Account 1 sent 36 BTC through an off-platform

Bitcoin address to a second Mt. Gox Account (Mt. Gox Account 2) (registered to

“nfs9000@hotmail.com”).

             d. On October 20, 2011, Mt. Gox Account 2 sent 35 BTC to a third Mt. Gox Account

(Mt. Gox Account 3) (registered to “kolbasa99@rambler.ru”).

             e. On October 20, 2011, Mt. Gox Account 3 sent $80 USD to an account at Aurum

Xchange (Aurum Xchange Account 1), another digital payment platform.

             f. On October 20, 2011, Aurum Xchange Account 1 sent $76 USD to Liberty Reserve

Account 1.

             g. On October 25, 2011, Liberty Reserve Account 1 paid the domain fees for

www.bitcoinfog.com to Highhosting.net.


        This series of transactions is depicted in the below chart:




       48.      An analysis of the IP addresses used to access the above Liberty Reserve and Mt.

Gox accounts confirmed that the accounts shared a common owner: STERLINGOV. For

example, IP logs from Mt. Gox and Liberty Reserve showed that on November 24, 2011, a user

using the IP address 212.117.160.123 logged into Mt. Gox Account 2, Mt. Gox Account 3, and
                                                18
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 31 of 46




Liberty Reserve Account 1, as well as another Liberty Reserve account registered to Roman

STERLINGOV (Liberty Reserve Account 2). STERLINGOV was also the named account

owner of a third Liberty Reserve account (Liberty Reserve Account 3) registered using the email

address heavydist@gmail.com (Google Account 1).

       49.    Liberty Reserve records revealed that Liberty Reserve Account 2 was registered

in STERLINGOV’s true name using the email address plasma@plasmadivision.com, the same

e-mail tied to Mt. Gox Account 1. The account registration information included a residential

address in Gothenburg, Sweden corresponding to STERLINGOV’s home address. Both Liberty

Reserve Account 2 and Liberty Reserve Account 3 were registered using a Swedish telephone

number, TELEPHONE NUMBER 1, which Swedish telecommunications provider records

revealed is registered to STERLINGOV.

       50.    On August 25, 2012, Mt. Gox Account 1 received a 180 BTC deposit sent from

an account at BTC-e (BTC-e Account 1). BTC-e was a virtual currency exchange that catered to

criminals and that was shut down by law enforcement in 2017. According to records from BTC-

e, BTC-e Account 1 was registered to Roman STERLINGOV, using Google Account 1.

       51.    Records from Google pertaining to Google Account 1 revealed that the account

was registered to “Roman Heavydist” and was linked to TELEPHONE NUMBER 1, identified

above as STERLINGOV’s phone number.           Investigators obtained the contents of Google

Account 1 pursuant to a lawfully authorized search warrant. Google Account 1’s Google Drive

folder contained Russian language document titled Ввод денег (“Putting Money”), dated

September 29, 2011 (less than a month prior to the launch of BITCOIN FOG). A translation of

the document showed that the document appeared to be notes taken by STERLINGOV describing
                                             19
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 32 of 46




how to layer funds. The steps outlined in the document match the steps that STERLINGOV took

to pay for the domain www.bitcoinfog.com. The below chart displays the relevant text of the

document overlayed on the transaction path used by STERLINGOV to pay for the

BitcoinFog.com domain.




STERLINGOV’s Receipt of Proceeds from BITCOIN FOG

       52.     BITCOIN FOG charged a variable fee of 2% to 2.5% on each deposit. Blockchain

analysis revealed that these fees were retained within the BITCOIN FOG cluster, and that the

administrator made periodic withdrawals from the BITCOIN FOG cluster to pay himself. These

withdrawals occurred sporadically and in the same manner as a regular user. The withdrawals

appeared to be concealed to blend in with regular mixing transactions in order to protect the site

administrator from scrutiny.     Based on BITCOIN FOG’s transaction activity over time,

STERLINGOV would have made approximately $8 million in commissions from BITCOIN

FOG transactions if he had cashed out the administrative fees near the time that the transactions

occurred. Due to the significant increase in value of bitcoin over the course of BITCOIN FOG’s

                                                20
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 33 of 46




operation—from a low of approximately $2 shortly after BITCOIN FOG launched in fall 2011

to a top value of $69,000 during 2021, and current value of $20,000—STERLINGOV was able

to reap significant appreciation from his profits that were kept in bitcoin.

        53.     IRS-CI examined bitcoin accounts controlled by STERLINGOV at several

cryptocurrency exchanges. Analysis of Sterlingov’s accounts revealed the vast majority of

cryptocurrency deposited into his accounts was originally sourced and traced back to BITCOIN

FOG. STERLINGOV utilized a variety of methods to remove BTC from BITCOIN FOG,

including conducting direct transfers to exchange accounts held in his name, withdrawing funds

from BITCOIN FOG to intermediary BTC wallets before cashing out BTC through exchanges,

and using BTC from BITCOIN FOG to purchase goods and services, gift cards, and other

cryptocurrencies.

Akemashite Omedetou (TARGET ACCOUNT 1)

        54.     BITCOIN FOG’s launch was announced in an October 27, 2011, posting titled

“[ANNOUNCE] Bitcoin Fog: Secure Bitcoin Anonymization” on the BitcoinTalk.org online

forum. BitcoinTalk.org was a popular forum for Bitcoin users. The announcement was posted

by a user with the pseudonym Akemashite Omedetou (Japanese for “Happy New Year”)

(TARGET ACCOUNT 1) and included links to a clearnet website for BITCOIN FOG

(www.bitcoinfog.com), the Tor onion site (http://foggeddriztrcar2.onion), and a Twitter feed for

updates on the site (www.twitter.com/#!/@Bitcoinfog).

        55.     The announcement post by TARGET ACCOUNT 1 described BITCOIN FOG as

a tool to make it difficult for “interested parties, be it authorities or just interested researchers” to

trace users’ Bitcoin transactions across the Bitcoin network. The post stated that BITCOIN FOG:
                                                  21
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 34 of 46




“mix(es) up your bitcoins in our own pool with other users…get paid back to other accounts from

our mixed pool…can eliminate any chance of finding your payments and making it impossible

to prove any connection between a deposit and a withdraw inside our service.”

       56.     After announcing the launch of BITCOIN FOG, TARGET ACCOUNT 1

continued to post on BitcoinTalk.org, extolling the anonymizing features of BITCOIN FOG and

providing updates on the service. For example, on or about November 11, 2011, in response to

an online comment that questioned a design feature of BITCOIN FOG, TARGET ACCOUNT 1

stated: “should we make it easier…to do statistical analysis on our payouts…to help[ing] them

start finding our bitcoin client? (that could only be done by an authority of course…) We won’t

make their life easier.”

       57.     In another post, dated on or about February 9, 2012, TARGET ACCOUNT 1

responded to a comment from a poster about using mainstream Bitcoin exchanges to mix virtual

currency. TARGET ACCOUNT 1 stated: “most of them [exchanges] are also run as legitimate,

visible businesses, which will be forced to reveal information about your funds, should such a

request be made by the authorities…us on the other hand, the authorities have to find first, which,

as Silk Road have [sic] demonstrated, can prove problematic.”

       58.     The Twitter account @BitcoinFog was established on or about October 27, 2011,

the date on which BITCOIN FOG was launched. The @BitcoinFog account regularly posted

updates regarding the status of the BITCOIN FOG hidden site, including tweeting a link on

November 14, 2014, to http://foggeddriztrcar2.onion, the hidden services address for BITCOIN

FOG.

       59.     The @BitcoinFog account also tweeted links to stories discussing why users

                                                22
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 35 of 46




should tumble bitcoins—in order to thwart law enforcement. For example, on or about September

13, 2017, the @BitcoinFog account tweeted a link to a story about the IRS using blockchain

analysis software to track bitcoin. On or about June 11, 2019, @BitcoinFog tweeted a link to a

Europol press release announcing the law enforcement takedown of Bestmixer.io, another Bitcoin

mixer/tumbler, commenting: “this is why you need to use ONLY a Tor-based mixing service

(Such a surprise).”

Killdozer (“TARGET ACCOUNT 2”)

       60.     Further investigation revealed that STERLINGOV held a second account at

BitcoinTalk.org, using the username “Killdozer” (TARGET ACCOUNT 2), for his own personal

activity. Records from BitcoinTalk.org for TARGET ACCOUNT 2 revealed that the account was

created on or about August 3, 2011, using email address Jordan.butch@mail.ru.

       61.     Between approximately August 2011 until approximately October 2013, TARGET

ACCOUNT 2 made over 200 forum posts. The vast majority of these posts involved TARGET

ACCOUNT 2 participating in discussions about various bitcoin topics. Some of the bitcoin topics

discussed by TARGET ACCOUNT 2on BitcoinTalk.org included the scalability of bitcoin,

government regulation, privacy, and money laundering.           TARGET ACCOUNT 2’s posts

repeatedly displayed technical knowledge of the bitcoin blockchain, issues related to transactions,

and user and data privacy.

       62.     For example, on or about January 31, 2012, while responding to posts with the

subject “The way US government can crack down Silk Road, Tor and Bitcoin,” TARGET

ACCOUNT 2 stated: “…Silk Road mainly sells drugs, that is already illegal, and apparently

already enough reason to try to shutdown it and bitcoin, according to some polititions. [sic]”

                                                23
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 36 of 46




       63.     Also, on or about June 25, 2013, in response to an online comment about hashes

not being random, TARGET ACCOUNT 2 stated: “Hash functions are NOT random. Hash values

of each block of bitcoin are because they are based on the block data which depends on the

behavior of the whole network.”

       64.     Another example, on or about July 7, 2013, in response to an online comment

saying “If you are NOT a criminal money laundering is NOT a crime!”, TARGET ACCOUNT 2

stated: “If you are not a criminal, it’s not called money laundering. If all your money sources are

legit and taxed, you can’t or will want to lauder the money, you will just use it and nobody will

have any problems with it. Earning money and not paying tax on it, while still living in the country

that needs those taxes and using the services it provides for those taxes is a crime though.”

       65.     Also, on or about July 18, 2013, in response to an online comment about bitcoin

transaction volume, TARGET ACCOUNT 2 stated: “ The scalability is the number one problem

stopping Bitcoin from becoming mainstream … right now the blockchain keeps all the old

information which is not even needed.”

Attribution of Killdozer (TARGET ACCOUNT 2) to ROMAN STERLINGOV

       66.     As described above, STERLINGOV was the account holder of the

heavydist@gmail.com (Google Account 1) email address. Records obtained from Google indicate

that on multiple occasions, STERLINGOV sent and received email communications in this

account where he refers to himself or is referred to by other parties as “Killdozer.”

       67.     Notably, on or about May 24, 2012, Google Account 1 sent an email in the Swedish

language to mats@henricson.se where he tells the recipient of the email that his username on

BitcoinTalk.org is Killdozer. The body of the email contains numerous typos but reads: “Hej

                                                 24
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 37 of 46




Mats, jag är en kille från Göteborg, ﬁnns på bitcoin.se och bitcointalk som “Killdozer.” Tänkte

bara säga, räkna med mig, mycket bra iniav det här (synd a det inte är i gbg bara :))”. Translated

to English, the body of the email reads as follows: “Hi Mats, I'm a guy from Gothenburg, ns nns

on bitcoin.se and bitcointalk as “Killdozer.” Just thought to say, count on me, very good iniav this

(pity a it is not in gbg only :))”.

        68.     Google Account 1 also contained emails dated January 20, 2013, and February 15,

2013, from the “Media Wiki Mail,” email address wiki@bitcoin.it, which is associated with the

Bitcoin Wiki, a wiki established in 2010 that served as a popular resource for the Bitcoin

community. The emails were addressed to “Killdozer <heavydist@gmail.com>.” The January

email pertained to the registration of an account on the Bitcoin Wiki using the name “Killdozer”;

the February email pertained to a password reset for the same account.

        69.     On April 26, 2012, STERLINGOV was involved in an email exchange with a

support representative from a file sharing software, Total Commander, using the email address

spam@plasmadivision.com. The plasmadivision.com domain was used by STERLINGOV to sign

up for accounts at Mt. Gox and Liberty Reserve in his own name. In the email with Total

Commander, STERLINGOV explained his reason for wanting to register with the username “Cray

Killdozer”:


Subject: Re: Total Commander registration for Cray Killdozer From:
spam@plasmadivision.com Date: 4/26/2012, 4:04 AM To: "Christian Ghisler"
<support@ghisler.com>

Dear Christian,

That name is no "gamer" name, it is the name I always use in my IT work, with my colleagues,
and in all computer environments. That is my identity which I have been living with and used in

                                                25
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 38 of 46




my work, and the only one I associate myself in those contexts. So you see, it would work
perfectly as a pyschological copy protection of the program. I am a developer myself and as you
surely understand, it is in the IT culture to use such names.

Please let me have this name on the license, I have used your program for a very long time and
sincerely consider your program the single biggest time saver and overall computer experience
improver ever made, it is the first one I install on every new system, it is the first one that starts
every day as well. I recommend it to almost any other developer/power user I meet. So I thought
that it seems only fair that I buy a real copy this time (instead of using the trial version, which is
still very generous of you to let users to do), considering how much I have been using it and
going to use it. Please let this experience stay as magical as it is, by using the provided name
which is the one that I use all the time in my work and any IT context.

Thank you. Sincerely, Cray.

On Apr 26, 2012 11:30 "Christian Ghisler" <support@ghisler.com> wrote: Dear Sir,

Thanks for your registration of Total Commander through TakeTwoSolutions.com!

It seems that "Cray Killdozer" isn't your real name, but some kind of gamer avatar name(?).

I'm sorry but this isn't possible. Why? The name in the title is the only (although only
psychologic) copy protection of the program.

Therefore we require one of the following for the title: 1. The first/last name of an existing
person 2. The name of a registered company (Inc/Ltd/SP z o.o. etc) 3. The name of a government
institution or school 4. The unregistered name + the name of the person

Best regards

Christian Ghisler Author of Total Commander

       70.     On August 29, 2011, STERLINGOV used his Killdozer account (TARGET

ACCOUNT 2) on BitcoinTalk.org to troubleshoot technical issues regarding a bitcoin-related

application he was attempting to run on his computer. The posts included screenshots showing

the username “heavydist.”




                                                  26
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 39 of 46




       71.      IP logs obtained from BitcoinTalk.org showed that on multiple occasions, the

Akemashite Omedetou account (TARGET ACCOUNT 1) and the Killdozer account (TARGET

ACCOUNT 2) logged in from the same IP address:

                 Date Time                IP                         Account
             10/25/2011 15:45        137.56.163.46            AKEMASHITE OMEDETOU
             10/27/2011 18:31        137.56.163.46            AKEMASHITE OMEDETOU
              1/14/2012 13:13        137.56.163.46                 KILLDOZER
               1/10/2012 2:55        146.185.23.179           AKEMASHITE OMEDETOU
               1/10/2012 3:00        146.185.23.179           AKEMASHITE OMEDETOU
              1/15/2012 21:36        146.185.23.179                KILLDOZER
               2/8/2012 14:05        146.185.23.179           AKEMASHITE OMEDETOU
              9/18/2011 15:50        173.254.192.36                KILLDOZER
              12/13/2011 0:45        173.254.192.36           AKEMASHITE OMEDETOU

Though these IP addresses were associated with anonymity-related services, it was nonetheless

highly significant that both TARGET ACCOUNT 1 and TARGET ACCOUNT 2 used the same

IPs.

                BACKGROUND CONCERNING PROVIDER’S ACCOUNTS

       72.      In my training and experience, and based on my review of BitcoinTalk.org's

website, I have learned the following:

       73.      BitcoinTalk.org owns and operates a free-access public message board and social

networking site of the same name that can be accessed at http://www.BitcoinTalk.org.

BitcoinTalk.org allows users to create their own accounts through which they may post public

messages or send private messages to other users.

       74.      To create a BitcoinTalk.org account, a BitcoinTalk.org user must select a unique

username and account password, and the user may provide an email address for the account.


                                               27
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 40 of 46




        75.      BitcoinTalk.org asks users to provide basic contact information, either during the

registration process or thereafter. This information may include the user's email address and other

personal identifiers. In my training and expertise, such information may be used to identify the

account's user or users. Based on my training and expertise, I know that even if subscribers enter

false information to conceal their identities, this information often provides clues to their identity,

location, or illicit activities.

        76.      For each user, BitcoinTalk.org may retain information regarding the date and time

when the user's profile was created, the date and time at which the account was created, and the

Internet Protocol ("IP") address at the time of sign-up. Because every device that connects to the

Internet must use an IP address, IP address information can help to identify which computers or

other devices were used to access a given BitcoinTalk.org account.

        77.      BitcoinTalk.org also keeps IP logs for each user. These logs contain information

about the user's logins to BitcoinTalk.org including, for each access, the IP address assigned to the

user and the date stamp at the time the user accessed his or her BitcoinTalk.org profile.

        78.      BitcoinTalk.org users post public messages on public bulletin boards, referred to as

forum posts. The forum posts are typically dedicated to the discussion of specific topics of

common interest mostly related to bitcoin and the virtual currency space. The forum posts are

made by BitcoinTalk.org users.

        79.      Depending on a variety of factors, including how long ago the account was created

and whether the account has sent any bitcoin to BitcoinTalk.org, users have certain ranks and

permissions on BitcoinTalk.org. The administrators impose restrictions on newcomers as far as

opening posts with new topics.

                                                  28
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 41 of 46




       80.     In addition to posting publicly, a BitcoinTalk.org user can also send private

messages to other BitcoinTalk.org users. These messages are typically visible only to the sender

and the recipient.

       81.     Each BitcoinTalk.org post or message includes a timestamp that displays when the

message was posted to BitcoinTalk.org.

       82.     As explained herein, information stored in connection with a BitcoinTalk.org

account may provide crucial evidence of the “who, what, why, when, where, and how” of the

criminal conduct under investigation, thus enabling the United States to establish and prove each

element or alternatively, to exclude the innocent from further suspicion. In my training and

experience, a BitcoinTalk.org user's account information, email address, IP log, stored electronic

communications, and other data retained by BitcoinTalk.org, can indicate who has used or

controlled the BitcoinTalk.org account. This “user attribution” evidence is analogous to the search

for “indicia of occupancy” while executing a search warrant at a residence. For example, profile

contact information, communications, public posts (and the data associated with the foregoing,

such as date and time) may be evidence of who used or controlled the BitcoinTalk.org account at

a relevant time. Further, BitcoinTalk.org account activity can show how and when the account

was accessed or used. For example, as described herein, BitcoinTalk.org logs the IP addresses

from which users access their accounts along with the time and date. By determining the physical

location associated with the logged IP addresses, investigators can understand the chronological

and geographic context of the account access and use relating to the crime under investigation.

Such information allows investigators to understand the geographic and chronological context of

BitcoinTalk.org access, use, and events relating to the crime under investigation.          Lastly,

                                                29
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 42 of 46




BitcoinTalk.org account activity may provide relevant insight into the BitcoinTalk.org account

owner's state of mind as it relates to the offense under investigation. For example, information on

the BitcoinTalk.org account may indicate the owner's motive and intent to commit a crime (e.g.,

information indicating a criminal plan) or consciousness of guilt (e.g., deleting account

information in an effort to conceal evidence from law enforcement).

       83.     Based on my training and experience, I know that evidence of who controlled, used,

and/or created a BitcoinTalk.org account may be found within the user-generated content created

or stored by the BitcoinTalk.org subscriber. In addition, based on my training and experience, I

know that this type of user-generated content can provide crucial identification evidence, whether

or not it was generated close in time to the offenses under investigation. This is true for at least

two reasons. First, people that commit crimes involving electronic accounts typically try to hide

their identities, and many people are more disciplined in that regard right before (and right after)

committing a particular crime. Second, earlier-generated content may be quite valuable, because

criminals typically improve their tradecraft over time. That is to say, criminals typically learn how

to better separate their personal activity from their criminal activity, and they typically become

more disciplined about maintaining that separation, as they become more experienced. Finally,

because online accounts and similar BitcoinTalk.org accounts do not typically change hands on a

frequent basis, identification evidence from one period can still be relevant to establishing the

identity of the account user during a different, and even far removed, period of time.

       84.     Based on my training and experience, I believe that data stored by BitcoinTalk.org

in connection with the above services may contain evidence of the substantive crimes under



                                                 30
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 43 of 46




investigation, as well as evidence of the account holders’ geographic location and the true identity

and/or aliases of the account holders.

       85.     Based on the foregoing, I submit that there is probable cause to believe that in the

accounts held by BitcoinTalk.org, there exists evidence, fruits, and instrumentalities of the Subject

Offenses. Thus, I respectfully request that the Court issue the proposed search warrant. Because

the warrant will be served on BitcoinTalk.org, who will then compile the requested records at a

time convenient to it, reasonable cause exists to permit the execution of the requested warrant at

any time in the day or night.

                   REQUEST TO SUBMIT WARRANT BY TELEPHONE
                     OR OTHER RELIABLE ELECTRONIC MEANS

       86.     I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant United States

Attorney Christopher B. Brown, an attorney for the United States, is capable of identifying my

voice and telephone number for the Court.




                                                 31
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 44 of 46




                                         CONCLUSION

       87.     Based on the forgoing, I request that the Court issue the proposed search warrant.

Because the warrant will be served on PROVIDER, who will then compile the requested records

at a time convenient to it, there exists reasonable cause to permit the execution of the requested

warrant at any time in the day or night. Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.

                                                   Respectfully submitted,



                                                   Leo Rovensky
                                                   Special Agent
                                                   Internal Revenue Service – Criminal
                                                   Investigation


      Subscribed and sworn telephonically pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3)
on August 9, 2022.



       _________________________________________
       HONORABLE ROBIN M. MERIWEATHER
       UNITED STATES MAGISTRATE JUDGE




                                                32
        Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 45 of 46




                     CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                      RECORDS PURSUANT TO FEDERAL RULES OF
                             EVIDENCE 902(11) AND 902(13)


       I, _________________________________, attest, under penalties of perjury by the laws

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by ____________, and my title is

_____________________________. I am qualified to authenticate the records attached hereto

because I am familiar with how the records were created, managed, stored, and retrieved. I state

that the records attached hereto are the original records or true duplicates of the original records

in the custody of BitcoinTalk.org. The attached records consist of BitcoinTalk.org

(pages/CDs/megabytes). I further state that:


       a.       all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with

knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of BitcoinTalk.org, and they were made by BitcoinTalk.org as a regular

practice; and


       b.       such records were generated by BitcoinTalk.org electronic process or system that

produces an accurate result, to wit:


                1.      the records were copied from electronic device(s), storage medium(s), or

file(s) in the custody of BitcoinTalk.org in a manner to ensure that they are true duplicates of the

original records; and




                                                  1
         Case 1:22-sc-02023-RMM Document 1 Filed 08/09/22 Page 46 of 46




               2.      the process or system is regularly verified by BitcoinTalk.org, and at all

times pertinent to the records certified here the process and system functioned properly and

normally.


        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.




 Date                                  Signature



                                _________________________________________________
                                Name and Title
